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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

SOUTH BEND DIVISION
lN RE: ) CASE NO.
Michael Todd Phillips §
Tyann Denise Phillips ) CHAPTER 13
CHAPTER 13 PLAN
l. The future earnings of debtor are submitted to the supervision and control of the trustee, and

debtor shall pay to the trustee the sum of $1,410.00 per month for 60 months by a wage
withholding order.

II. From the payments so received, the trustee shall make disbursements as fo|.lows:

1. All allowed priority claims entitled to priority under l l USC 507 shall be paid in full
during the plan. All allowed administrative claims shall be paid in fu|.]. Trustee’ s fees
shall be paid according to statute. The debtors have paid $0.00 directly to their
attorney prior to filing. The Trustee will pay said attorney $4,000.00 for a total of
$4,000.00

2. After the above payments, secured creditors whose claims are duly proved and
allowed shall be treated as follows:

(i) HSBC has a security interest in Debtors’ house and will be paid according to the
contract through the plan. Further, the allowed arrearage shall be paid through
the plan with no interest. Upon completion of the plan, debtor shall resume
payments according to the terms of the contract.

(ii) Wabash County Treasurer has an interest in debtor’s residence
Arrears will be paid at 8% interest. Debtor will continue to pay all
post-petition payments directly.

(iii) Communitywide has a security interest in Debtors’ 2008 Ford F-3 50 and
will be paid in full through the plan according to their allowed proof of
claim of 4.0% interest from the date of confirmation Upon completion of
the p|an, Debtors will retain cars free and clear of any liens and creditor
shall return title to Debtors.

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(iv) The lndiana Department of Revenue has a secured interest in Debtors’
property and shall be paid if full through the plan.

3. Non-administrative priority claims shall be paid after administrative and secured
claims have been paid in full.

4. All funds remaining after payments are made above shall be paid to unsecured
creditors in full pursuant to their allowed proof of claims.

III. Debtor has no executory contracts.

IV. All property shall remain property of the estate until dismissal or discharge The debtor(s)
will remain in possession of all property of the estate during the pendency of this case unless
specifically provided herein [l l U.S.C. § 1306(b)]. All secured creditors shall retain the liens

securing their claims unless otherwise stated.

V. Debtor will turn over tax returns each year of the plan.

Dated: q[t;l${/j

Michael Todd Phillips

 
 

Denise Phillips

   

Acceptance may be mailed to:

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